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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

DE’JUAN THOMAS                                                       CIVIL ACTION

VERSUS                                                               NO. 17-1595-EWD

SALLY GRYDER, ET AL.                                                 CONSENT CASE


       The parties are hereby advised of the following requirements for the submission of the

Pretrial Order in this matter.

                          I. PRETRIAL ORDER REQUIREMENTS

       Counsel for the Plaintiff(s), with the cooperation and assistance of all other counsel and

any unrepresented parties, shall prepare a written Pretrial Order in this case to be signed by all

counsel of record and then filed with Court. In the event that there is any disagreement with the

content of the Pretrial Order or any part thereof, the objecting counsel or party shall attach an

Opposition to the Pretrial Order prior to its submission to the Court. An example of a completed

Pretrial Order, approved as to form for use in this Court, is attached to this Notice.

       The Pretrial Order shall contain the following information:

1.     The specific statute(s) or other authority upon which federal subject matter
       JURISDICTION is founded and any jurisdictional questions raised by any party.

2.     A list of all pending MOTIONS, if any, and specific issues raised in those pending
       motions.

3.     A brief statement of the CLAIMS OF EACH PLAINTIFF.

4.     A brief statement of the CLAIMS OF EACH DEFENDANT.

5.     A brief statement of the CLAIMS OF OTHER PARTIES, if any.

6.     FACTS ESTABLISHED by pleadings or by stipulation of counsel.


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7.   (a)      A list of all EXHIBITS (except documents for impeachment only) to be offered in
              evidence by all parties.

     (b)      As to each listed exhibit, a representation that:

              i.     There are, or are not, objections to the AUTHENTICITY of the exhibit
                     and the reasons therefore; however

              ii.    Objections, if any, to the ADMISSIBILITY of exhibits need not be
                     addressed in the Pretrial Order, but will instead be presented to the Court
                     by motions in limine and pretrial memoranda to be filed at a time to be set
                     by the Court at the pretrial conference.

8.   (a)      List all WITNESSES for each party, including their names, addresses, and a brief
              statement as to the nature of their expected testimony together with a representation
              whether they WILL be called to testify or MAY be called to testify.

     (b)      WILL CALL witnesses shall be produced or subpoenaed by the party listing them
              and made available during the trial in order that such witnesses may be available to
              opposing counsel as witnesses even if not actually called upon to testify by the party
              so listing them. A party shall not release a will call witness without the express
              written or on-the-record consent of the other party. This is intended to eliminate
              the necessity of opposing counsel having to subpoena the same witnesses who are
              being voluntarily produced or subpoenaed by the party listing them as “will call”
              witnesses.

     (c)      MAY CALL witnesses shall be listed on the Pretrial Order, but there is no
              obligation on the party listing a “may call” witness to have that witness subpoenaed
              and present for the trial.

     (d)      The parties shall designate which of the witnesses, if any, will testify by
              WRITTEN OR VIDEOTAPE DEPOSITIONS. Where written or video
              depositions are to be used, the parties shall designate for the Court and all other
              parties those portions of the deposition which are to be read or shown to the jury
              not later than twenty-one (21) days prior to trial. Only those portions of the
              deposition which are necessary to a party’s case shall be read or played to the jury.
              Where a video deposition is used, the parties shall file into evidence a written
              transcript of the deposition. Videotape depositions to be used during trial must be
              edited to a MAXIMUM OF THIRTY (30) MINUTES. Depositions to be
              introduced or read at trial must be excerpted to a MAXIMUM OF THIRTY (30)
              PAGES. A reader must be provided by the party who intends to have a transcript
              read during trial.




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       (e)      Objections contained within written or videotaped depositions shall be edited out
                of the tape or transcript. Any deposition objections which require a ruling by the
                Court shall be submitted to the Court fourteen (14) days prior to trial.

9.     State any proposed AMENDMENTS to the pleadings and what objections, if any, there
       may be to any proposed amendments.

10.    State any ADDITIONAL MATTERS which may aid in the disposition of the case,
       including, e.g., settlement possibilities, whether the parties wish to engage in an arbitration,
       mediation, or court facilitated settlement conference, and an estimate of the probable length
       of the trial.

11.    State whether this matter is a jury or a non-jury trial.

12.    Estimate the length of time each side requires for the presentation of their evidence.

13.    Except for good cause shown, only exhibits and witnesses listed in the Pretrial Order, or
       permitted to be listed in an amendment to the Pretrial Order, shall be admitted in evidence
       or allowed to testify.


                              II. ADDITIONAL INSTRUCTIONS

1.     JOINT JURY INSTRUCTIONS/INTERROGATORIES. The parties in a jury case shall

file with the Clerk of Court joint jury instructions are to be filed by the deadline contained in the

operative scheduling order. The term “joint jury instructions” shall be construed to include a joint

verdict or interrogatory form. NO SEPARATE FILINGS are allowed as to the joint jury

instructions and interrogatories - all submissions must be joint with disagreements footnoted with

case authority and pinpoint citations. All pattern instructions taken from the latest Edition of the

5th Circuit Pattern Instructions may be referenced by number and edition used.

2.     Please be advised that Courtroom 5 is a fully equipped electronic courtroom. Any exhibits

used at trial shall be presented by a laptop connection or by conventionally presenting exhibits

using the electronic document camera. Counsel shall contact Judge Wilder-Doomes’ Courtroom




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Deputy, Brandy Lemelle Route at (225) 389-3584, so that training in the use of this equipment can

be scheduled and completed prior to trial.

       Signed in Baton Rouge, Louisiana, on June 14, 2018.


                                              S
                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE




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                        UNITED STATES DISTRICT COURT

                        MIDDLE DISTRICT OF LOUISIANA

PLAINTIFF, ET AL.                                        CIVIL ACTION

VERSUS                                                   NO. 13-000-RLB

DEFENDANT, ET AL.                                        CONSENT CASE

                  UNIFORM PRETRIAL ORDER
       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, a Pretrial Conference

was conducted in this proceeding by Richard L. Bourgeois, Jr., United States Magistrate

Judge, on the      day of             , 201_.

       PRESENT:
                            Appeared as Trial Counsel for Plaintiff(s):


                            Appeared as Trial Counsel for Defendant(s):

                                   1. JURISDICTION

       This Court has subject matter jurisdiction in this proceeding under the provisions of

28 USC §1332. The Plaintiff is a citizen of the State of Louisiana and the Defendant is a

citizen of the State of Illinois and the amount in controversy exceeds, exclusive of interest

and costs, the necessary jurisdictional amount.




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                                       2. MOTIONS

       There are no pending motions. The Defendant will file a Motion in Limine to

exclude certain photographs from evidence at trial on the basis that they are unnecessarily

gruesome and unlikely to assist the jury in resolving any disputed issues of fact.

                               3. PLAINTIFF’S CLAIMS

       The Plaintiff claims that he was seriously injured in an automobile accident in Baton

Rouge, Louisiana, on October 19, 1996, and that the accident was caused by the negligence

and fault of the Defendant driver who ran into the rear of the Plaintiff’s automobile after

he had stopped for a red light. The Plaintiff also contends that his injuries in the accident

required a long period of hospitalization and made it impossible for him to return to his

regular employment as a truck driver for six months, all of which resulted in significant

loss of income and out-of-pocket medical and hospital expenses.

                              4. DEFENDANT’S CLAIMS

       The Defendant denies that he was negligent or otherwise at fault for the occurrence

of the accident for which the Plaintiff has filed suit, and also claims that the Plaintiff had

serious health problems for many years prior to the accident and that these problems were

not caused or aggravated by any injuries he sustained in the accident.

                          5. CLAIMS OF OTHER PARTIES

       None.




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                                6. ESTABLISHED FACTS

      (1)      The Plaintiff and Defendant were involved in an automobile accident in
               Baton Rouge, Louisiana, on October 19, 1996.

      (2)      The Plaintiff was hospitalized in the Baton Rouge General Hospital from
               October 19, 1996 to November 30, 1996.

      (3)      The Plaintiff incurred medical and hospital expenses of $63,480 from
               October 19, 1996 to March 30, 1997.

                                       7. EXHIBITS

      (a)      Plaintiff’s Exhibits:

  EXHIBIT               DESCRIPTION                      Grounds for
    NO.                                                  Objection to
                                                         Authenticity
Exhibit 1         Photograph of Defendant at         Stipulated
                  scene following accident
Exhibit 2         Photograph of accident             Objection to
                  scene                              authenticity: no
                                                     evidence of date, time
                                                     and identity of
                                                     photographer
Exhibit 3         Automobile Insurance               Stipulated
                  Policy
Exhibit 4         Medical Records of Plaintiff       Stipulated
                  from Baton Rouge General
Exhibit 5         Medical Records of Plaintiff       Stipulated
                  from Acadian Ambulance

      (b)      Defendant’s Exhibits:
  EXHIBIT               DESCRIPTION           Grounds for
    NO.                                       Objection to
                                              Authenticity
Exhibit 1         Photograph of damage to Stipulated
                  Defendant’s vehicle
Exhibit 2         Photograph of accident  Objection to
                  scene                   authenticity: does not
                                          accurately depict the
                                          scene of accident

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                                8. WITNESSES

(a)      Plaintiff’s WillCall Witnesses:

         (1)    Paul Plaintiff
                125 Mulberry Street
                Baton Rouge, Louisiana

                       Plaintiff will testify about the accident and his injuries.

         (2)    Paulette Plaintiff
                125 Mulberry Street
                Baton Rouge, Louisiana

                       Plaintiff’s wife will testify about her husband’s injuries.

         (3)    Walter Witness
                128 Mulberry Street
                Baton Rouge, Louisiana

                       This is an eyewitness who will testify about the accident.

         (4)    Dr. Tom Terry
                350 Medical Plaza
                Baton Rouge, Louisiana

                       The Plaintiff’s treating physician will testify about his injuries.

         (5)    Edwin Employer
                ABC Manufacturing
                150 Industrial Boulevard
                Baton Rouge, Louisiana

                       The Plaintiff’s employer will testify about his lost wages.

         (6)    Danny Defendant
                140 Elm Street
                Baton Rouge, Louisiana



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                      The Defendant will testify about how the accident occurred
                      under cross-examination.

(b)      Plaintiff’s MayCall Witnesses:

         (1)   Virginia Smith
               165 Sharp Road
               Baton Rouge, Louisiana 70815

                      Plaintiff’s neighbor may testify about Plaintiff’s activities prior
                      to and after the accident.

(c)      Defendant’s WillCall Witnesses:

         (1)   Danny Defendant
               125 Mulberry Street
               Baton Rouge, Louisiana

                      Defendant will testify about the accident.

         (2)   Paul Plaintiff
               125 Mulberry Street
               Baton Rouge, Louisiana

                      Plaintiff will testify about the accident and his injuries under
                      cross-examination.

         (3)   William Witness
               130 Mulberry Street
               Baton Rouge, Louisiana

                      This is an eyewitness and will testify about the accident.

         (4)   Dr. John Smith
               Ascension General Hospital
               290 Worthy Road
               Gonzales, Louisiana

                      The Plaintiff’s former treating physician will testify about his
                      health prior to and after the accident.


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             (5)    Sgt. Tom Trooper
                    Baton Rouge Police Department
                    Baton Rouge, Louisiana

                           Sgt. Trooper will testify about his investigation of the accident.


                                  9. AMENDMENTS

     None.


                            10. ADDITIONAL MATTERS

     1.      This matter is designated as a jury trial.

     2.      The parties estimate the case can be tried in one day and have considered the
             possibility of settlement.

     3.      Plaintiffs presentation of evidence will require 1 day (or you may denote
             hours). Defendants presentation will require 4 hours.




___________________________               ________________________________
DATE                                      ATTORNEY FOR PLAINTIFF


___________________________               ________________________________
DATE                                      ATTORNEY FOR DEFENDANT




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